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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION



United States of America,                                       Case No. 3:24-cr-14

                        Plaintiff,

        v.                                                      ORDER


Jeremy Adams,

                        Defendant.



        The government moves for an order requiring Defendant Jeremy Adams “to submit to an

independent psychological evaluation in order to rebut psychological testimony and evidence that

the defense has stated would be introduced at trial to challenge the ‘purpose’ element of the

offense.” (Doc. No. 166).

        The Supreme Court has held “that where a defense expert who has examined the defendant

testifies that the defendant lacked the requisite mental state to commit an offense, the prosecution

may present psychiatric evidence in rebuttal.” Kansas v. Cheever, 571 U.S. 87, 94 (2013) (citing

Buchanan v. Kentucky, 483 U.S. 402, 408, 422 (1987)). When, as is true in this case, “the defense

expert’s evidence is based upon an examination of the defendant, ‘the only effective means of

challenging that evidence [is] testimony from an expert who has also examined him.’” United States v.

Holmes, No. 18-CR-00258-EJD-1, 2020 WL 5414786, at *2 (N.D. Cal. Sept. 9, 2020) (quoting

Cheever, 571 U.S. at 94)). See also United States v. McMahan, 129 F. App’x 924, 930 (6th Cir. 2005) (A

“district court is authorized to order a reasonable, non-custodial psychological examination when a
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defendant raises a defense presenting evidence of diminished capacity.”) (citing United States v.

Davis, 93 F.3d 1286, 1293 (6th Cir. 1996)); United States v. Fell, No. 5:01-CR-12-01, 2015 WL

13781291, at *1 (D. Vt. Oct. 9, 2015) (“If Fell ultimately does elect to present evidence regarding his

mental state through a psychological expert who has examined him, then the government may

challenge that evidence with testimony from its own examining expert.”).

        Adams previously indicated his intent to present expert evidence of a mental condition

which allegedly impaired his ability to form the required intent in this case. (Doc. Nos. 159 and

160). Adams has not offered any objection to the government’s motion.

        Therefore, I grant the government’s motion for a psychological evaluation of the Defendant.

(Doc. No. 166). Any refusal to participate with the government expert’s evaluation will result in the

preclusion of the testimony of Defendant’s expert. Further, I order the government to video- and

audio-record the evaluation so that defense counsel may review it.

        So Ordered.



                                                        s/ Jeffrey J. Helmick
                                                        United States District Judge




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